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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND AUG 2 2 2024
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UNITED STATES OF AMERICA * CO EISTRIGT OF MARYLAND
* BY ¢ R DEPUTY
y. * CRIMINAL NO. PX
: Or HUO
NADER POURHASSAN, and * (Conspiracy, 18 U.S.C. § 371;
KAZEM KAZEMPOUR, * Securities Fraud, 15 U.S.C. §§ 78j(b),
* 78ff and 17 C.F.R. § 240.10b-5; Wire
Defendants. % Fraud, 18 U.S.C. § 1343; False
a Statements to Federal Law
* Enforcement, 18 U.S.C. § 1001;
* 18 U.S.C. §§ 981(a)(1)(C))

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SUPERSEDING INDICTMENT

The Grand Jury for the District of Maryland charges:

COUNT 1
(18 U.S.C. § 371 — Conspiracy to Commit Offenses Against the United States)

At all times relevant to this Indictment, unless otherwise stated:

Relevant Individuals and Entities

1. Defendant NADER POURHASSAN resided in Lake Oswego, Oregon, and served
as the President and Chief Executive Officer of CytoDyn Inc. (“CytoDyn’).

2. CytoDyn was a publicly traded late-stage biotechnology company with offices in
Vancouver, Washington. CytoDyn’s common stock traded over the counter, and shares were
available for purchase and sale by the public. CytoDyn’s shareholders lived throughout the United
States and around the world, including in the District of Maryland. CytoDyn issued and caused to
be issued press releases that were posted on CytoDyn’s Internet website and distributed across the
Internet via Media Company 1.

Be CytoDyn focused on the clinical development and potential commercialization of

leronlimab (PRO 140), a monoclonal antibody investigational drug. For over a decade, CytoDyn

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investigated and developed leronlimab as a potential treatment for human immunodeficiency virus
(“HIV”) and later COVID-19, among other diseases. Leronlimab has never been approved by the
FDA to be marketed and used for the treatment of any disease.

4. Since its inception, CytoDyn incurred operating losses each year due to the costs of
research and development and lack of any revenue. CytoDyn therefore required a significant
amount of capital to continue the investigation and attempted development of leronlimab. From
in or around 2018 to in or around 2021, POURHASSAN worked aggressively to finance
CytoDyn’s cash needs by selling equity and debt securities. During this time, POURHASSAN
was preoccupied with the price of CytoDyn’s publicly traded common stock, which informed the
price at which CytoDyn potentially could offer new securities. Between in or around 2018 and in
or around 2021, POURHASSAN raised more than $200 million by selling equity and debt
securities.

5. Defendant KAZEM KAZEMPOUR resided in the District of Maryland.
KAZEMPOUR founded Amarex Clinical Research LLC (“Amarex”) in 1998 and served as its
Chief Executive Officer since that time. In addition, beginning in or around 2018, KAZEMPOUR
became a member of CytoDyn’s Disclosure Committee, which was responsible for reviewing and
approving CytoDyn’s periodic reports filed with the U.S. Securities and Exchange Commission
(“SEC”), including CytoDyn’s quarterly reports on Form 10-Q and annual reports on Form 10-K.

6. Amarex was a private company with offices in Germantown, Maryland. Amarex
functioned as a contract research organization (“CRO”), managing clinical trials and serving as
the regulatory agent for its clients, including CytoDyn, with the U.S. Food and Drug

Administration (“FDA”). In its role as CytoDyn’s regulatory agent, Amarex communicated with

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the FDA on CytoDyn’s behalf. Amarex managed numerous clinical trials for CytoDyn beginning
in or around 2014 and continuing through in or around 2021.

7. The FDA is responsible for protecting the public health by ensuring the safety,
efficacy, and security of human drugs, among other products. The FDA does not itself develop or
test products. Rather, the FDA reviews the results of laboratory, animal, and human clinical testing
done by companies to determine whether any product that companies propose to market is safe
and effective. The FDA does this premarket review for new human drugs and biologics, among
other products. A company requesting permission to introduce a biologic product into interstate
commerce must submit a Biologics License Application (“BLA”) with the FDA.

8. In or around 2018, CytoDyn, together with its regulatory agent, Amarex, began to
prepare to submit a BLA for leronlimab as a potential treatment for HIV to the FDA. Throughout
2018, 2019, and 2020, POURHASSAN, KAZEMPOUR, and other representatives from
CytoDyn and Amarex met regularly with the FDA to discuss the BLA review process, including
the timeline and requirements for the BLA. The FDA explicitly instructed POURHASSAN,
KAZEMPOUR, CytoDyn, and Amarex on the requirements necessary to complete the BLA
submission and warned that each required component of the BLA submission had to be complete
when submitted in order for the FDA to begin its review. For example:

a. On or about June 18, 2018, POURHASSAN, KAZEMPOUR, and other
representatives from CytoDyn and Amarex met with the FDA to discuss the BLA.
The meeting minutes, which were prepared by the FDA and shared with CytoDyn
and Amarex, stated:

The content of a complete application was discussed .... FDA
advised CytoDyn of initial findings and concerns with the data to

support a BLA approval and restated the review issues which could
affect approvability and the need for an advisory committee

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meeting. CytoDyn stated their confidence in the robustness of the
efficacy data regardless of how missing data is handled or analysis
methods. In addition, FDA informed CytoDyn that the process
validation and full [process, performance and qualification]
information will need to be completed and included with the BLA,
no late components would be accepted.

b. On or about December 14, 2018, POURHASSAN, KAZEMPOUR, and other
representatives from CytoDyn and Amarex, again met with the FDA. The stated
purpose of the meeting was “for FDA to outline specific and potential ‘Refuse to
File’ issues to allow for CytoDyn to address findings in advance of a planned BLA
submission for PRO 140.” The FDA reiterated that the BLA submission had to be
complete and explained that an incomplete BLA would be a “Definite Refuse to
File Issue[.]” The meeting minutes, which were prepared by the FDA and shared
with CytoDyn and Amarex, stated:

Advice on Filing Requirements / Definite Refuse to File Issues
Although not the focus of this meeting, FDA briefly reiterated the
previous advice provided to CytoDyn regarding outstanding
information that needs to be completed prior to submission of a
BLA, where if not submitted in completed form, would be
considered Refuse to File issues. These include: final [chemistry,
manufacturing and controls] information ....

9. Around the same time, the FDA also repeatedly expressed concerns to CytoDyn
and Amarex about the companies’ proposed timeline for submitting the BLA, which
POURHASSAN had selected and KAZEMPOUR had conveyed to the FDA. The FDA
repeatedly cautioned that CytoDyn and Amarex should slow down to ensure a complete

submission that contained all information necessary for the FDA to begin its review. For example,

on or about December 28, 2018, a representative of the FDA sent an e-mail to KAZEMPOUR, as

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a representative of CytoDyn’s regulatory agent, to express concerns about CytoDyn’s proposed
timeline for the submission of the BLA:

[W]e are concerned that you are operating on an overly optimistic timeline for your

BLA submission. You have requested that we allow amendments to your ongoing

trials so that you can collect at least 12 weeks of safety data from at least 100

subjects receiving the 700 [milligram (mg)] SQ weekly dose of PRO 140. We are

concerned that you expect to submit the data collected from these additional
subjects by the end of March 2019. Even if these amendments were to be approved
instantaneously and you were to enroll all 60 additional subjects immediately, you

would be left with less than a month to review and analyze the efficacy and safety

data. Because the data you submit in your BLA submission must be accurate, clear,

and well-organized for BLA review and Advisory Committee preparation, we

wanted to raise your awareness that you will be putting your BLA at risk by rushing

your BLA submission.

On or about January 3, 2019, KAZEMPOUR sent a written response acknowledging the FDA’s
concerns about CytoDyn’s “rush[ed]” timeline. Also among the list of the FDA’s concerns was a
“reminder” for CytoDyn “to submit mock datasets prior to BLA submission so any problems
with compatibility can be resolved prior to BLA submission.”

10. In or around 2020, while CytoDyn and Amarex were still in the process of
completing the BLA submission, CytoDyn, through Amarex, submitted an Investigational New
Drug Application (“IND”) to the FDA, seeking approval to develop leronlimab as a treatment for
COVID-19.

11. Beginning no later than March 2020 and continuing through at least September
2021, POURHASSAN, KAZEMPOUR, and other representatives from CytoDyn and Amarex
communicated regularly with the FDA to discuss the efficacy of leronlimab as a treatment for
COVID-19. The FDA explicitly instructed POURHASSAN, KAZEMPOUR, CytoDyn, and
Amarex that properly designed and analyzed clinical trials were necessary to determine

leronlimab’s effectiveness as a treatment for COVID-19 and obtain an Emergency Use

Authorization (“EUA”), i.e. FDA approval to market leronlimab for the treatment of COVID-19.

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For example, on or about March 22, 2020, in electronic communications to KAZEMPOUR,
representatives of the FDA stated, regarding CytoDyn’s Phase 2 clinical trial (CD-10), “Please
note we view this trial as an exploratory proof-of-concept trial and is not sufficient as the basis of
approval for COVID-19 indication.” Similarly, during a teleconference on or about May 19,
2020,representatives of the FDA communicated to POURHASSAN and KAZEMPOUR:
You have not established clinical proof-of-concept for leronlimab as treatment for
COVID-19 in either of your ongoing two randomized placebo-controlled trials,
CD10 and CD12. As we have previously stated in our communications with you
about expanded access programs, conducting randomized, placebo-controlled
clinical trials is the most effective means of evaluating the safety and efficacy of
therapeutic products for COVID-19.
12. Again, on or about June 1, 2020, in electronic correspondence, representatives of
the FDA communicated with KAZEMPOUR:
As we have repeatedly told you in our communications about expanded access
programs, conducting randomized, placebo-controlled clinical trials is the most
effective means of evaluating the safety and efficacy of therapeutic products for
COVID-19. Just as we were concerned about your proposed expanded access
treatment study (“compassionate use study”), we are becoming increasingly
concerned that your use of the emergency INDs (EIND) may also be interfering with
clinical investigations designed to support that marketing approval of leronlimab for
COVID-19, particularly CD12.
13. Representatives of the FDA _ repeatedly expressed concerns to
POURHASSAN, KAZEMPOUR, CytoDyn, and Amarex about misinformation CytoDyn
was relaying to the public regarding the effectiveness of leronlimab for the treatment of
COVID-19. For example, on September 3, 2020, a representative from the FDA sent an
electronic communication to KAZEMPOUR, reiterating that the “FDA does not believe
that the scientific information currently available will satisfy the criteria for issuance of an

EUA,” because, among other reasons:

[T]he efficacy results from the CD10 trial did not meet any of the pre-specified
primary and secondary efficacy outcomes and do not provide any evidence or
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suggestion of efficacy of PRO 140 for the treatment of mild-to-moderate COVID.

14. Additionally, during a teleconference on December 23, 2020, representatives of the
FDA reminded POURHASSAN and KAZEMPOUR that “CD10 did not demonstrate a benefit,”
and warned that information provided to the public should be revised “so as not to mislead
investigators and study participants.” Representatives of the FDA repeatedly warned
POURHASSAN and KAZEMPOUR that making representations during a public health
emergency about the efficacy of the drug, without statistically significant or scientifically sound
results, would be false and misleading.

15. The SEC is an agency within the executive branch of the federal government that
is responsible for regulating the securities markets, including the issuance, marketing, and trading
of securities. CytoDyn’s securities were regulated by the SEC. Public companies, like CytoDyn,
provided information to the SEC and investors by filing certain SEC Forms with the SEC using
the agency’s Electronic Data Gathering, Analysis, and Retrieval (“EDGAR”) system. EDGAR is
a database available to investors and the general public via the Internet throughout the United
States, including in the District of Maryland.

The Conspiracy to Execute the Schemes to Defraud

16. Beginning at least in or around 2018 and continuing through at least in or around
2021, in the District of Maryland and elsewhere, the defendants,
NADER POURHASSAN
and
KAZEM KAZEMPOUR,

knowingly and willfully conspired with each other and others known and unknown to the grand

jury to commit certain offenses against the United States, namely:

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a. securities fraud, that is, to knowingly and willfully, directly and indirectly, by use of
the means and instrumentalities of interstate commerce, and of the mails, in connection
with the purchase and sale of securities, use and employ, and cause others to use and
employ, manipulative and deceptive devices and contrivances, in violation of Title 17,
Code of Federal Regulations, Section 240.10b-5 by: (a) employing, and causing others
to employ, devices, schemes, and artifices to defraud; (b) making, and causing others
to make, untrue statements of material fact and omitting to state, and causing others to
omit to state, material facts necessary in order to make the statements made, in the light
of the circumstances under which they were made, not misleading; and (c) engaging,
and causing others to engage, in acts, practices, and courses of business which operated
and would operate as a fraud and deceit upon persons, to wit: to defraud investors in
CytoDyn through materially false and misleading representations and material
omissions relating to: (1) CytoDyn’s investigation and attempted development of
leronlimab as a potential treatment for HIV, including the timeline and status of
CytoDyn’s regulatory submissions to, and review of leronlimab by, the FDA;
(2) CytoDyn’s development of leronlimab as a potential treatment for COVID-19,
including the status and results of CytoDyn’s clinical trials and regulatory approval or
authorization of leronlimab for the treatment of COVID-19, by the FDA, in violation
of Title 15, United States Code, Sections 78) and 78ff, Title 17, Code of Federal
Regulations, Section 240.10b-5, and Title 18, United States Code, Section 2; and

b. wire fraud, that is, to knowingly and with the intent to defraud, devise and intend to
devise a scheme and artifice to defraud and for obtaining money and property by means

of materially false and fraudulent pretenses, representations and promises, knowing

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that the pretenses, representations and promises were false and fraudulent when made,
and did knowingly transmit and cause to be transmitted, by means of wire
communications, writings and signals in interstate and foreign commerce certain
writings, signs, signals, pictures and sounds, for the purpose of executing such scheme
or artifice, to wit: to defraud investors in CytoDyn through materially false and
misleading representations relating to: (1) CytoDyn’s investigation and attempted
development of leronlimab as a potential treatment for HIV, including the timeline and
status of CytoDyn’s regulatory submissions to, and review of leronlimab by, the FDA;
and (2) CytoDyn’s development of leronlimab as a potential treatment for COVID-19,
including the status and results of CytoDyn’s clinical trials and approval or
authorization by the FDA, in violation of Title 18, United States Code, Section 1343.

PURPOSE OF THE CONSPIRACY AND SCHEMES TO COMMIT FRAUD

17. It was the purpose of the conspiracy and the schemes to defraud for the defendants
to unjustly enrich themselves by: (i) causing and making materially false and misleading
representations to investors relating to CytoDyn’s investigation and attempted development of
leronlimab as a potential treatment for HIV, including the timeline and status of CytoDyn’s
regulatory submissions to, and review of leronlimab by, the FDA; (ii) causing and making
materially false and misleading representations to investors relating to CytoDyn’s investigation
and attempted development of leronlimab as a potential treatment for COVID-19, including the
status and results of CytoDyn’s clinical trials and regulatory approval or authorization of
leronlimab for the treatment of COVID-19, by the FDA; (iii) concealing from investors the true
facts; (iv) diverting the proceeds of the scheme and artifice for their personal use and benefit,

including through the issuance and exercise of stock options and the sale and attempted sale of

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CytoDyn stock; and (v) concealing the scheme from regulators, law enforcement, investors, and

the media.

MANNER AND MEANS OF THE CONSPIRACY AND SCHEMES TO DEFRAUD

The manner and means by which the defendants sought to accomplish the purpose of the
conspiracy and the schemes included, but were not limited to, the following:

18. | POURHASSAN marginalized and later removed from CytoDyn’s Board certain
directors who attempted to exercise oversight of POURHASSAN’s public statements, including
press releases drafted by POURHASSAN. POURHASSAN also marginalized and terminated
the employment of CytoDyn employees who expressed concerns that POURHASSAN’s public
statements were potentially false and misleading.

19. POURHASSAN and KAZEMPOUR repeatedly made, and caused CytoDyn to
make, materially false and misleading representations about the timelines by which CytoDyn and
Amarex would complete and submit CytoDyn’s BLA for leronlimab as a potential treatment for
HIV to the FDA. These timelines were not based on whether CytoDyn and Amarex could meet
the FDA’s requirements for a BLA, and instead were based on what POURHASSAN believed
would inflate and maintain CytoDyn’s stock price and attract new investors. CytoDyn directors
and executives, Amarex executives, and the FDA repeatedly warned POURHASSAN and
KAZEMPOUR that POURHASSAN’s timelines for submitting the BLA could not be met.
POURHASSAN nevertheless continued to publicly tout the timelines he had selected. Consistent
with these warnings, CytoDyn and Amarex repeatedly failed to submit the BLA within the
timelines POURHASSAN had publicly announced.

20. In April 2020, after CytoDyn and Amarex repeatedly missed publicized timelines,

POURHASSAN directed KAZEMPOUR and Amarex to submit the BLA to the FDA even if it

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was “short” — i.e., incomplete — so that he could announce to investors that it had been submitted.
POURHASSAN and KAZEMPOUR knew that the FDA would refuse to review an incomplete
BLA. KAZEMPOUR and Amarex did, in fact, submit an incomplete BLA, which the FDA
refused to file, as expected.

21. In order to artificially inflate and maintain CytoDyn’s stock price and attract new
investors, POURHASSAN and CytoDyn misrepresented in a press release that a “complete” BLA
had been submitted to the FDA on April 27, 2020. In truth and in fact, a complete BLA had not
been submitted.

22. After the FDA informed KAZEMPOUR, who in turn directed Amarex Executive
1 to inform POURHASSAN, that the BLA was incomplete and the April 27, 2020 press release
stating the opposite was misleading, POURHASSAN and KAZEMPOUR failed to correct the
false and misleading April 27, 2020 press release.

23. Further, even after the FDA informed KAZEMPOUR, who directed Amarex
Executive 1 to inform POURHASSAN, that the BLA was incomplete, POURHASSAN made
additional false and misleading statements that a complete BLA would be submitted and, later, that
a completed BLA had been submitted, all while knowing that CytoDyn did not possess the
necessary data to complete the BLA.

24. From in or around at least March 2020 through in or around at least September
2021, POURHASSAN and KAZEMPOUR repeatedly made and caused CytoDyn to make
materially false and misleading representations about leronlimab’s effectiveness as a COVID-19
treatment based on patient subpopulations and post hoc analysis, which POURHASSAN and
KAZEMPOUR then and there knew because the FDA and CytoDyn personnel had explicitly

informed them that they were derived from flawed calculations and results that were neither

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statistically significant nor scientifically sound. POURHASSAN and KAZEMPOUR knew
CytoDyn’s clinical trial results had limited value in demonstrating leronlimab’s safety and efficacy
and would not persuade the FDA to authorize leronlimab as a treatment for COVID-19 because
the FDA had explicitly informed them so. The results POURHASSAN touted were not based on
scientifically sound analysis, but instead were based on what POURHASSAN and
KAZEMPOUR believed would inflate and maintain CytoDyn’s stock price and attract new
investors.

25. CytoDyn directors and executives, Amarex executives, and the FDA repeatedly
warned POURHASSAN and KAZEMPOUR that CytoDyn’s representations about leronlimab’s
effectiveness as a COVID-19 treatment and the FDA’s review of leronlimab for that indication
were false and misleading. POURHASSAN nevertheless continued to make these false and
misleading representations.

26. POURHASSAN and KAZEMPOUR made and caused to be made materially false
and misleading representations in, and omitted material information from, CytoDyn press releases,
SEC filings, interviews he distributed on the Internet, and in print and online media, all of which
were intended to reach, and did in fact reach, investors and the general public throughout the
United States, including within the District of Maryland. POURHASSAN arranged media
appearances and authored, reviewed, approved, issued, and disseminated press releases and SEC
filings. POURHASSAN and CytoDyn posted the press releases on CytoDyn’s website and
disseminated the press releases across the Internet via Media Company 1.

Zhe To conceal the conspiracy and schemes from regulators, law enforcement,
investors, and the media, POURHASSAN used CytoDyn funds to arrange interviews in which he

directly responded to and sought to refute allegations that POURHASSAN had engaged in fraud

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or wrongdoing, and similarly used CytoDyn funds to pay stock promoters to respond to
POURHASSAN’s critics in online forums.

28. To conceal the conspiracy and schemes from law enforcement, KAZEMPOUR
made materially false statements to federal agents regarding his ownership of CytoDyn stock.

OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY
AND SCHEMES TO DEFRAUD

2°, In furtherance of the conspiracy and to accomplish its objects, the following overt
acts were committed in the District of Maryland, and elsewhere:

POURHASSAN Eliminated CytoDyn Directors and Executives Who Expressed Concern
About the Accuracy and Truthfulness of His Public Representations

30. Certain members of CytoDyn’s Board of Directors, including Director 1 and
Director 2, expressed concerns about POURHASSAN’s preoccupation with CytoDyn’s stock
price and POURHASSAN’s inaccurate and exaggerated public representations regarding
leronlimab’s development. In or around 2017, Director 1, who was then CytoDyn’s Chairman,
attempted to institute safeguards to ensure the accuracy and truthfulness of POURHASSAN’s
public representations, including in CytoDyn press releases. POURHASSAN rejected the Board’s
oversight, complaining that it unnecessarily limited his ability to raise new money from investors.
In or around 2018, POURHASSAN orchestrated Director 1’s replacement as Chairman with
POURHASSAN’s own hand-picked candidate. POURHASSAN then pushed Director 1 off
CytoDyn’s Board.

31. Beginning in or around 2018, POURHASSAN caused CytoDyn’s Board to
effectively cease meaningful oversight of POURHASSAN’s public representations. In an e-mail
to a CytoDyn vendor on or about December 7, 2018, POURHASSAN described how when

Director | “stepped down,” POURHASSAN “immediately raised about $19 million.”

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32. On or about March 16, 2019, POURHASSAN updated CytoDyn’s Board about his
efforts to boost the company’s stock price, including by using videotaped interviews of himself to
attract new investors:

[T]he key to higher stock price without reverse split and up-listing is HIGHER

VOLUME. If we generate higher volume, we will wash through all the shares that

need to be traded to new hands and stock will then see much higher levels (we had

orchestrated that in past, 2014 to 2016 and we believe we can do it again).

We now have the right IR firm ... and will have great plan of attack the problems

we faced. Along with [the IR firm’s] efforts we are having continuous campaign of

video interviews .... Radio interviews and TV campaign that just started yesterday

33. Director 2 remained on CytoDyn’s Board through the first half of 2019. During
that time, Director 2 continued to challenge POURHASSAN on his public representations
regarding leronlimab’s development. In or around July 2019, POURHASSAN orchestrated
Director 2’s removal from the Board. In or around December 2019, after removing from the Board
multiple directors who had attempted to institute safeguards over his public representations,
POURHASSAN caused the award of hundreds of thousands of stock options to remaining
directors and other individuals whom he viewed as allies.

34. |POURHASSAN also marginalized and terminated CytoDyn executives who
expressed concern regarding the accuracy and truthfulness of POURHASSAN’s representations
regarding leronlimab’s development. For example, from in or around December 2020 to in or
around March 2021, CytoDyn Executive 1 repeatedly expressed concerns regarding
representations POURHASSAN and CytoDyn made to the FDA, and to the public in press

releases, regarding leronlimab’s efficacy in treating COVID-19 based on flawed analyses of

clinical data for patient subpopulations. In or around mid-March 2021, POURHASSAN

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eliminated CytoDyn Executive 1’s role as part of the review process for CytoDyn press releases.
On or about April 5, 2021, POURHASSAN terminated CytoDyn Executive 1’s employment.

POURHASSAN Made Materially False and Misleading Representations About the Timelines
for Submission of a BLA for Leronlimab

35. On or about November 13, 2018, POURHASSAN and CytoDyn issued a press
release titled “PRO 140 (leronlimab) HIV Monotherapy Trial Results Show 92% Responder’s Rate
at 700mg Dose.” The press release stated that “CytoDyn remains on track to complete its filing
of a biologics license application (BLA) for PRO 140 . . . with the FDA by the first quarter of
2019.” POURHASSAN’s and CytoDyn’s representations in this press release were materially
false and misleading, and omitted material information, because, in truth and in fact, and as
POURHASSAN knew, CytoDyn was not on track to submit a complete BLA to the FDA on the
stated timeline. In fact, POURHASSAN had selected the timeline for the BLA’s submission based
on what he believed would inflate and maintain the price of CytoDyn stock and raise new money
from investors and not on whether CytoDyn could meet the FDA requirements by the first quarter
of 2019.

36. | Onorabout February 1, 2019, after interim data from CytoDyn’s HIV monotherapy
clinical trials supported changing from a 350mg dose to a 700mg dose of leronlimab for HIV
patients, POURHASSAN and CytoDyn issued a press release announcing the new focus on the
700mg dose and stating that the FDA had agreed to an approach that would “avoid a long delay in
the BLA filing[.]” POURHASSAN also was quoted as stating: “We believe we can realize
significant revenue opportunities by 2020 assuming the first approval of leronlimab[.]”
POURHASSAN’s and CytoDyn’s representations in this press release were materially false and
misleading because they omitted the significance of the dosage change, which was, among other

things, that substantial additional work and data were required to justify the new dose, and

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continued to advance the materially false and misleading narrative that the BLA would be
submitted quickly. In or around January 2019, POURHASSAN, KAZEMPOUR, and other
representatives from CytoDyn and Amarex had discussed the 700mg dosage data with FDA. The
FDA recommended that the BLA focus on the 700mg dosage. In doing so, the FDA agreed to
accept certain safety data from the ongoing monotherapy trial in connection with the BLA, but
communicated to POURHASSAN, KAZEMPOUR, and other representatives from CytoDyn and
Amarex that additional dose justification data would be required. The additional data needed to
support the 700mg dosage required substantial additional work.

37. In 2019 and 2020, POURHASSAN’s communications repeatedly emphasized the
link between the BLA timeline and CytoDyn’s stock price or the ability to raise money from new
investors. For example, on or about February 7, 2019, in an e-mail that POURHASSAN later
forwarded to CytoDyn’s Board, he wrote, “if this shipment [of leronlimab] is not proceed [sic], we
will have another set back in our BLA timeline. This could paralyze our company from raising
future funds and will not be good for any of us.”

38. After the first-quarter 2019 BLA timeline passed, POURHASSAN and CytoDyn
announced in a press release on or about March 18, 2019, that the “first of three sections of the
BLA submission” had been filed with the FDA. The press release further stated that “‘[t]his is the
most important milestone yet in CytoDyn’s history,” and “[w]e continue to execute on the
submission of our BLA and are well positioned for potential revenue in 2020, subject to final
approval.” POURHASSAN and CytoDyn’s representations in this press release were materially
false and misleading because, in light of the work that remained to be done on the BLA submission,

CytoDyn would not be able to generate revenue from the commercialization of leronlimab in 2020.

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39. During 2019 and early 2020, POURHASSAN publicly announced additional
timelines for completing the BLA submission—timelines he knew were unachievable—to raise
new money from investors. POURHASSAN knew these statements were misleading investors.
For example, in an e-mail to a CytoDyn vendor on or about January 23, 2020, POURHASSAN
wrote, “We will be getting many lawsuits from our shareholders if we can’t deliver the BLA section
of our [Chemistry, Manufacturing and Controls] [sic].”

40. In written communications between in or around February 2020 and in or around
April 2020, including communications with KAZEMPOUR, POURHASSAN explicitly stated
that it was necessary to submit the BLA to increase and maintain CytoDyn’s stock price. For
example, on or about February 8, 2020, in an electronic message to KAZEMPOUR and Amarex
Executive 1, POURHASSAN, wrote, “We told the public on Thursday that the BLA is delayed
until the end of February and on Thursday and Friday our stock dropped and our market cap went
down by $200 million and everyone is asking for my head[.] If we can’t get BLA done by the end
of February we will have another tremendous drop in our stock[.]”

4]. On or about April 6, 2020, POURHASSAN wrote in an e-mail to CytoDyn
Executive 2, copying Amarex Executive 1, “Please let me know if we can file both sections of
BLA (CMC and Clinical) no later than April 15 and if we do what will we be risking?”
POURHASSAN knew at that time, because the FDA had made it clear, that submitting an
incomplete BLA would result in a “definite” refusal to file by the FDA.

42. On or about April 9, 2020, CytoDyn submitted its quarterly SEC filing on SEC
Form 10-Q, which was publicly available via the Internet to investors throughout the United States,
including in the District of Maryland. POURHASSAN reviewed, approved, and signed this filing.

CytoDyn’s 10-Q filing stated, “We expect to submit the remaining two sections of the BLA in the

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[sic] April of 2020.” CytoDyn’s 10-Q filing was materially false and misleading because, in truth
and in fact, POURHASSAN, KAZEMPOUR, CytoDyn, and Amarex knew that data and
information required by the FDA was not available to submit by the end of April 2020 and,
therefore, the remaining two sections of the BLA could not be submitted on that timeline.

POURHASSAN and KAZEMPOUR Submitted an Incomplete BLA for Leronlimab In Order
to Increase CytoDyn’s Stock Price

43. On or about April 12, 2020, POURHASSAN sent an electronic message to

CytoDyn Executive 2 in which he stated:

I just had another long talk with [Amarex Executive 1.] Afterwards I have been
taking to several of our shareholders[.] We could do a very large fund raising of
$100 million and these guys are ready now but I need to do this after BLA
submission to give our stock the best chance for this very large raise[.] Please shoot
for April 15 submission if possible without dangering [sic] anything and if at the
end we need a few more days then so be it[.]

44, Two days later, on or about April 14, 2020, POURHASSAN, sent an e-mail to
KAZEMPOUR and Amarex Executive 1, copying CytoDyn Executive 2. In the e-mail,
POURHASSAN explicitly instructed KAZEMPOUR and Amarex Executive | that the BLA
should be filed even if it was “short” (i.e., incomplete):

Today we have so far in 1 hour almost 20% drop in our stock price. Yesterday we

had drop [sic] also after putting out great results about COVID-19 patients we are

seeing these [sic] type of decline. This drop will be much deeper if we don’t file

our BLA as the message board now is getting bombarded by investors who are very

frustrated with me and CytoDyn. Please file the BLA no later than next week

Wednesday, even if we are short in no matter what portion of whatever it is that we
are short.

45. POURHASSAN emphasized that “if [CytoDyn’s] stock continues its drift then

financially we will have problems financing itself [sic]. THE MOST IMPORTANT thing now is

BLA, ...°

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46. On or about April 27, 2020, KAZEMPOUR and Amarex filed an incomplete BLA
on CytoDyn’s behalf. The cover letter accompanying the submission, which KAZEMPOUR
signed, acknowledged that the submission did not include clinical datasets that FDA had repeatedly
told POURHASSAN, KAZEMPOUR, CytoDyn, and Amarex were required for the FDA to begin
its review. POURHASSAN, KAZEMPOUR, CytoDyn, and Amarex knew that the BLA
submission was incomplete and would result in a “definite” refusal to file as the FDA had
repeatedly warned in meetings attended by POURHASSAN, KAZEMPOUR, and other
representatives of CytoDyn and Amarex. The BLA submission was a deceptive device that
POURHASSAN directed and KAZEMPOUR carried out for the purpose of allowing
POURHASSAN and CytoDyn to mislead investors and the public by misrepresenting that the
BLA was submitted and would therefore be reviewed by the FDA. In truth and in fact, and as
POURHASSAN, KAZEMPOUR, CytoDyn, and Amarex knew, the FDA would reject the
submission as incomplete.

47. Also on or about April 27, 2020, POURHASSAN and CytoDyn issued a press
release titled “CytoDyn Submits Completed Biologics License Application to the FDA for
Leronlimab as a Combination Therapy for Highly Treatment Experienced HIV Patients.” The
press release specifically quoted POURHASSAN as saying, “With the BLA filing for a
combination therapy now complete...’ POURHASSAN’s and CytoDyn’s representations in
this press release were materially false and misleading. In truth and in fact, and as
POURHASSAN and CytoDyn knew, the BLA submission was not complete because it lacked
clinical datasets and other information that were required for FDA to conduct its review.

KAZEMPOUR and Amarex had only submitted the BLA so that POURHASSAN and CytoDyn

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could misleadingly announce it had been submitted, while omitting the material information that
the BLA was incomplete and would be rejected by the FDA.

48. On or about April 27, 2020, POURHASSAN and CytoDyn held an investor
conference call, which was disseminated via the Internet to investors throughout the United States,
including in the District of Maryland. During the call, POURHASSAN repeated materially false
and misleading representations that CytoDyn had submitted the BLA to the FDA. For example,
POURHASSAN stated that the “BLA timeline was pushed back constantly,” but falsely and
misleadingly claimed that “these pushbacks were all due to CytoDyn’s success,” describing the
change to the higher, 700mg dose and work on COVID-19 clinical trials. In truth and in fact, as
POURHASSAN knew, the failure to meet the timelines was due to POURHASSAN’s selection
of the timelines based on what he believed would inflate and maintain CytoDyn’s stock price and
raise new money from investors, rather than basing the timelines on whether CytoDyn and Amarex
could meet the FDA’s requirements for a BLA. POURHASSAN also stated, “So in short...the
BLA is submitted,” while omitting the material information that the BLA was incomplete and
would be rejected by the FDA.

49. Onor about April 28, 2020, the day after CytoDyn issued its false and misleading
press release about the BLA submission, KAZEMPOUR sent an e-mail to CytoDyn Executive 3,
copying POURHASSAN and KAZEMPOUR’s financial advisor, about selling shares of
CytoDyn stock: “Several years ago, Board of CytoDyn [sic] gave me 150,000 share options, and
after this many years, I am thinking to sell the shares now!! I talked to my brokerage [agent] (CCed
here), and he told me to communicate with you and CC him so you can explain to me/him what

we need to do to sell those shares.”

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POURHASSAN and KAZEMPOUR Failed to Correct the False and Misleading April 27,
2020, Press Release

50. On or about April 30, 2020, KAZEMPOUR forwarded an email from the FDA,
dated on or about April 29, 2020, to Amarex Executive 1, who in turn forwarded the FDA’s e-mail
to POURHASSAN. The FDA’s April 29, 2020, e-mail had informed KAZEMPOUR that the
BLA was not complete and that CytoDyn’s April 27, 2020, press release contained misinformation.
The FDA’s e-mail stated, in pertinent part:

We have communicated to you on multiple occasions . .. whereby we clarified that

the BLA review clock does not begin until the applicant informs the Agency that a

complete BLA was submitted.

Your April 27, 2020, submissions do not constitute a completed BLA as CytoDyn
has reported to the public via press release.

The BLA application is not considered complete as you yourself acknowledged in
your covering letter with the April 27, 2020, submission — noting that the clinical
datasets remain outstanding.

As the regulatory agent on behalf of CytoDyn our expectation is that you have
communicated this information to CytoDyn. We ask you to take regulatory

responsibility for the misinformation released in the aforementioned Press Release
by notifying CytoDyn.

Further we ask that you formally retract submission of the clinical module and
resubmit at such a time when this module is considered fully complete. We had not
made any prior agreements that an incomplete clinical module could be submitted
(missing datasets).
Despite the admonishment that the FDA did not consider the BLA to be complete and would not
begin reviewing the submission, and the warning from the FDA about the “misinformation” in
CytoDyn’s April 27, 2020, press release, neither POURHASSAN nor KAZEMPOUR, who were

on CytoDyn’s Disclosure Committee, corrected the materially false and misleading representations

that the BLA would be and had been completed and submitted in April 2020. Given their roles

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and their receipt of the FDA’s admonishments, both POURHASSAN and KAZEMPOUR had a
duty to correct these representations.

51. Upon the submission of the BLA, pursuant to an award of stock options by
CytoDyn’s Board in or around December 2019, hundreds of thousands of CytoDyn stock options
for multiple CytoDyn directors and executives, including POURHASSAN, vested and were
available to exercise. The vesting event was merely the submission of the BLA and did not require
that the BLA was complete or was accepted for review by the FDA. Beginning on or about April
30, 2020, POURHASSAN exercised stock options and sold millions of shares of CytoDyn stock
in the following approximate amounts:

a. On or about April 30, 2020 — 2.2 million shares valued at $7.8 million.

b. On or about May 1, 2020 — 1.39 million shares valued at $4.5 million.

c. Onor about May 4, 2020 — 1.2 million shares valued at $3.3 million.
POURHASSAN engaged in those trades while in possession of material information not known
to the public, namely that the BLA submitted to the FDA was not complete and, therefore,
CytoDyn’s April 27, 2020, press release announcing a “completed” BLA was false.
POURHASSAN engaged in at least the May 1, 2020, and May 4, 2020, transactions while in
possession of additional material information not known to the public, namely that the FDA had
already communicated to CytoDyn through KAZEMPOUR and Amarex, as CytoDyn’s
regulatory agent, that (i) the BLA was not complete and would not be reviewed, and (ii) the April
27, 2020, press release that POURHASSAN caused to be issued contained “misinformation” that
must be corrected. After paying for the CytoDyn stock shares at the option purchase price and
paying taxes on the subsequent stock sales, POURHASSAN personally gained approximately

$4.4 million.

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POURHASSAN Falsely Claimed that a Complete BLA Would and Had Been Submitted
Knowing that CytoDyn Did Not Possess the Necessary Data to Complete the BLA

52. On or about May 4, 2020, POURHASSAN filmed a video interview, which
POURHASSAN caused to be disseminated via the Internet, in which he made materially false and
misleading representations to conceal the fraudulent scheme on investors and the fact that he traded
CytoDyn stock based on material, non-public information. POURHASSAN explained that he
“exercised [his] options” in order to provide the company with funding for the following five to
six weeks, which “took a tremendous beating on [him]” because he “ha[d] to pay hefty taxes|.]”
POURHASSAN added, “I try to sacrifice for the company anytime | can.” In truth and in fact,
POURHASSAN had exercised his options based on material non-public information and
personally gained approximately $4.4 million from this insider trading.

53. On or about May 4, 2020, and again on or about May 6, 2020, POURHASSAN
caused CytoDyn to issue press releases that represented that “the [BLA] will be considered
completed after the clinical datasets are submitted on May 11, 2020.” In each press release, those
representations were placed at the end of a boilerplate paragraph generally describing leronlimab
and HIV that was included in nearly all of CytoDyn’s press releases. Each of those press releases
not only omitted important information about what the FDA had communicated and why the BLA
would not be considered completed until after the clinical datasets were submitted, but also failed
to disclose that CytoDyn had submitted an incomplete BLA (and thus failed to correct the
inaccurate April 27, 2020, press release) and did not have the information necessary to complete
the BLA submission.

54. It was not until on or about May 8, 2020, after POURHASSAN had gained
approximately $4.4 million through insider trading, that CytoDyn issued a press release titled

“CytoDyn Clarifies Status of [BLA]” that stated in the opening paragraph that the company “today

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further clarified the status of [its] submission of its [BLA].... The BLA will not be considered
completed until the Company submits to the FDA clinical datasets required to address FDA
comments it received in March 2020, as described in the Company’s press releases on May 4 and
May 6, 2020. CytoDyn expects to submit these clinical datasets on May 11, 2020.” Even
POURHASSAN’s and CytoDyn’s representations in this May 8, 2020 press release were
materially false and misleading because the release failed to disclose that CytoDyn had submitted
an incomplete BLA (and thus failed to correct the inaccurate April 27, 2020, press release) and did
not have the information necessary to complete the BLA submission.

55. On or about May 13, 2020, POURHASSAN and CytoDyn issued a press release
claiming that CytoDyn “Completed Submission of All Remaining Parts of [BLA] on May 11,
2020.” POURHASSAN’s and CytoDyn’s representations in this press release were materially
false and misleading because, at a minimum, POURHASSAN and CytoDyn knew that the BLA
did not contain data required to support the 700mg dosage—because no analysis had been
performed to produce such data and CytoDyn did not possess it.

56. On or about June 8, 2020, POURHASSAN and CytoDyn issued a press release
touting a “BLA Acknowledgement Letter From the FDA” and suggesting that the FDA could
inform CytoDyn by July 10, 2020, of its target date for completing review of the BLA.
POURHASSAN’s and CytoDyn’s representations in this press release were materially false and
misleading because, in truth and in fact, and as POURHASSAN and CytoDyn knew, the critical
dose justification data that was necessary for FDA to conduct its review had not been submitted
with the BLA.

57. On or about June 9, 2020, and June 10, 2020, KAZEMPOUR exercised stock

options and sold his approximately 150,000 shares of CytoDyn stock valued at $427,500.

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58. On or about August 14, 2020, CytoDyn submitted its annual SEC report on SEC
Form 10-K, which was available via the Internet to the investing public throughout the United
States, including in the District of Maryland. POURHASSAN reviewed, approved, and signed
this filing. KAZEMPOUR was responsible for reviewing and approving the regulatory-related
contents of the filing in his role on CytoDyn’s Disclosure Committee. POURHASSAN, CytoDyn,
KAZEMPOUR, and Amarex used CytoDyn’s 10-K filing to conceal their prior conduct in
furtherance of the conspiracy and schemes, and to continue to mislead investors about the
prospects for and timing of resubmitting a completed BLA to the FDA. For example, CytoDyn’s
10-K filing included the following representations:

As of the date of this filing, the Company had filed all three portions of its
BLA, however, in July 2020, the Company received a Refusal to File letter
from the FDA requesting additional information. The Company has
requested a Type A meeting and plans to supply the additional information
in a timely manner.

The BLA was initially submitted with the FDA in April 2020 and the BLA
submission was completed on May 11, 2020. In July 2020, the Company
received a Refusal to File letter from the FDA regarding its BLA filing
requesting additional information, and the Company has requested a Type
A meeting to discuss the FDA’s request for additional information, which
the Company expects will be resolved on a timely basis during calendar
year 2020.

In July 2020, the Company received a Refusal to File letter from the FDA
regarding its BLA submission in April and May of 2020 for leronlimab as a
combination therapy with HAART for highly treatment experienced HIV
patients. The FDA informed the Company its BLA did not contain certain
information needed to complete a substantive review and therefore, the
FDA would not file the BLA. The FDA’s request does not require any
additional clinical trials to be conducted, rather that the Company conduct
specifically requested additional analysis of the completed trials data. The
Company has scheduled a Type A meeting to discuss the FDA’s request for

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additional information. The Company expects to resubmit the BLA with the
additionally required data by the end of calendar year 2020.

POURHASSAN’s, CytoDyn’s, KAZEMPOUR’s, and Amarex’s representations in the 10-K

filing were materially false and misleading because they:

a.

continued to suggest that CytoDyn submitted the BLA in April 2020 without
disclosing that, at that time, POURHASSAN, CytoDyn, KAZEMPOUR, and
Amarex knew that the submission was incomplete and that the FDA would issue a
refuse to file notice in response, and they nonetheless submitted it;

concealed the true nature of the FDA’s numerous concerns with the BLA
submission (which included dozens of deficiencies) and instead misleadingly
suggested that the FDA merely wanted more information about leronlimab; to the
contrary, on or about July 8, 2020, the FDA had issued a Refusal to File letter to
CytoDyn through KAZEMPOUR as CytoDyn’s regulatory agent. The FDA stated
that the BLA “has numerous omissions and inadequacies so severe as to render the
application incomplete and also introduces significant impediments to a prompt and
meaningful review because there is the need for substantial amounts of additional
data and analyses along with corrections in datasets.” Most notably, the letter
identified the lack of dose justification data as an impediment to review despite
multiple prior occasions on which the FDA informed CytoDyn and Amarex that
such data were required in the BLA submission; and

provided a false and misleading timeline for resubmission that POURHASSAN
selected to inflate and maintain CytoDyn’s stock price and raise new money from
investors, and not based on whether CytoDyn could meet the FDA requirements for

resubmission.

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POURHASSAN and KAZEMPOUR Made and Caused CytoDyn to Make False and
Misleading Representations About COVID-19 Clinical Trials

59, On or about December 22, 2020, POURHASSAN and CytoDyn issued a press
release claiming, among other things, that CytoDyn’s CD10 clinical trial for COVID-19 “produced
statistically significant results for NEWS2.” This was materially false and misleading because, in
truth and in fact, as POURHASSAN and CytoDyn knew, the data had not been run through the
proper statistical tests to correct for multiplicity and therefore were not statistically significant.
On or about December 23, 2020, the FDA held a conference call to inform CytoDyn that its claims
in the December 22, 2020, press release were misleading.

60. On or about December 23, 2020, in private electronic communications,
POURHASSAN and KAZEMPOUR discussed CytoDyn’s press releases on the CD10 clinical
trial, and KAZEMPOUR assured POURHASSAN, “I am working with [Amarex Employee 1]
to make it more +tive [positive].”

61. On or about December 24, 2020, POURHASSAN and CytoDyn issued a press
release that omitted the material information that the FDA had informed CytoDyn that its
December 22, 2020, press release was misleading and the CD10 clinical trial data were not
statistically significant. Instead, at the end of a lengthy quote attributed to POURHASSAN, the
press release stated only that the “CD10 trial will not support an e[ND request.”

62. By in or around February 2021, after CytoDyn received the results of its CD12
clinical trial for COVID-19 that showed that leronlimab failed to meet the primary or secondary
endpoints (i.e., goals) of the study, CytoDyn and Amarex prepared an executive summary report
(the “Executive Summary”) for the FDA discussing the CD12 clinical trial results that
POURHASSAN urged CytoDyn employees, including CytoDyn Executive 1, to make more

positive than the data supported.

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63. In or around February 2021, POURHASSAN became concerned with CytoDyn’s
declining stock price and asked Amarex to prepare an addendum to the Executive Summary (the
“Addendum”). Amarex drafted the Addendum at POURHASSAN’s direction, with input from
other CytoDyn executives. The Addendum included post hoc analysis of data for patient
subpopulations in an effort to suggest that leronlimab was effective in treating certain COVID-19
patient subgroups. CytoDyn Executive 1 warned POURHASSAN that the analysis was not
statistically or scientifically sound. KAZEMPOUR also expressed concern about the statistical
analysis that POURHASSAN wanted to present in the Addendum. Despite knowing that
POURHASSAN’s request was improper, KAZEMPOUR told CytoDyn Executive 1 that Amarex
would include the post hoc analysis of data because Amarex should do what its client (CytoDyn)
asked.

64. At POURHASSAN and KAZEMPOUR’s direction, CytoDyn and Amarex
submitted the Addendum to the FDA. Specifically, on or about February 23, 2021,
POURHASSAN sent KAZEMPOUR and others an email with the subject line, “CytoDyn -
Leronlimab_CD12_COVID-19 Executive Summary _Addendum FINAL,” _ instructing
KAZEMPOUR to submit the addendum to the FDA. The FDA subsequently disagreed with the
analysis in the Addendum and called an urgent meeting with CytoDyn and Amarex to express its
concerns that the post hoc analysis of COVID-19 patient subgroup data was misleading.

65. On or about March 7, 2021, in private electronic communications,
POURHASSAN asked KAZEMPOUR if he had “any concerns in regards to us putting out in the
public domain the last executive summary,” to which KAZEMPOUR replied, “No concer[ns]. I
would say to publish it ASAP. The only concern is [CytoDyn Employee X] or so people with bad

in[t]ention make a mountain out of a mole negative point.”

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66. POURHASSAN and CytoDyn repeatedly made materially false and misleading

representations of leronlimab’s effectiveness as a COVID-19 treatment based on patient
subpopulations that they knew, because the FDA and CytoDyn personnel had explicitly informed
them, derived from flawed calculations and results that were neither statistically significant nor
scientifically sound. For example:
a. On or about March 5, 2021, POURHASSAN and CytoDyn issued a press release
claiming that “CytoDyn's Phase 3 Trial Demonstrates Safety, a 24% Reduction in
Mortality [for] Critically Ill COVID-19 Patients Treated with Leronlimab.”
b. On or about March 8, 2021, POURHASSAN caused CytoDyn to file a Current
Report on SEC Form 8-K that attached a combined version of the Executive
Summary report to the FDA and analysis from the Addendum, despite the prior
warnings from CytoDyn and Amarex personnel, and from the FDA, that the
analysis in the Addendum was misleading.
c. On or about March 30, 2021, POURHASSAN and CytoDyn issued a press release
stating “CytoDyn's Leronlimab Decreased Mortality at 14 Days by 82%
With Statistically Significant P-Value of 0.0233 Amongst Critically Ill COVID-19
Patients.”

67. In response to POURHASSAN’s and CytoDyn’s serial
misrepresentations regarding leronlimab’s effectiveness as a COVID-19 treatment, on or about
May 17, 2021, the FDA released a public statement on its website to correct CytoDyn’s public
misrepresentations regarding leronlimab. The FDA’s “Statement on Leronlimab” explained, in

pertinent part:

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Focusing on only the most favorable of many subgroup analyses, even if the sub
groups are pre-specified, can lead to overestimating the evidence of benefit,
because regardless of a drug's true efficacy, some analyses are likely to appear
favorable by chance when a large number of analyses ate conducted.

With the conclusion of both the CD10 and CD12 clinical trials, it has become
clear that the data currently available do not support the clinical benefit of
leronlimab for the treatment of COVID-19....

CytoDyn has publicly communicated differences in small subgroups from the
CD12 trial (e.g., a sub-group analysis of 62 of the 394 patients studied)
suggesting that the data demonstrated a mortality benefit in certain patients who
had received leronlimab. Subgroup analyses have well-established limitations,
especially in the context of a clinical trial that has failed to show a benefit in the
overall study population. For example, subgroups are often small, and therefore
imbalances are common. Here, the data from CD12 illustrated imbalances in
mortality among subgroups, some favoring leronlimab and some favoring
placebo. None of these analyses met statistical significance when using
established and reliable analytical methods that correct for multiple
comparisons.

On or about September 22, 2021, notwithstanding the FDA’s repeated warnings and public
statement regarding leronlimab and COVID-19, POURHASSAN filmed a video interview that
was posted and publicly available on the Internet in which he again made materially false and
misleading representations regarding leronlimab's effectiveness as a treatment for critically ill

COVID-19 patients.

POURHASSAN Used Investor Money to Silence His Critics and Conceal the Fraud
68. To respond to public criticism about his conduct, and in furtherance of the schemes
to defraud and raise new money from investors, POURHASSAN hired and paid with CytoDyn
funds an investor-facing media firm to film video interviews, which were posted on the Internet.
POURHASSAN scripted the questions asked to him in the video interviews, which frequently

allowed him to attack individuals who published critical comments in online news articles and chat

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boards, or elsewhere on the Internet, in furtherance of and in order to conceal the fraudulent
scheme.

69. In addition, POURHASSAN hired and paid with CytoDyn funds a stock promoter
to respond to critical commentary (without attribution to POURHASSAN or CytoDyn) in online
chat boards and elsewhere on the Internet, in furtherance of and in order to conceal the fraudulent
scheme on investors.

KAZEMPOUR Made Materially False Statements to Federal Agents Regarding His
Ownership of CytoDyn Stock

70. On or about July 7, 2021, federal law enforcement agents conducted a voluntary
interview of KAZEMPOUR at Amarex’s offices in Germantown, Maryland, relating to Amarex’s
work for POURHASSAN and CytoDyn. During the interview, KAZEMPOUR falsely stated that
he had only ever owned a “couple hundred” shares of CytoDyn stock, a “hundred or two hundred”
shares, or a “bonus of two hundred share[s]” that CytoDyn had awarded him, which
KAZEMPOUR also referred to as “options.” In truth and in fact, KAZEMPOUR had not
received a “hundred or two hundred” shares of CytoDyn stock, but as further alleged above in
Paragraph 41, and as KAZEMPOUR knew, he had been given warrants to purchase 150,000
shares of CytoDyn stock, which KAZEMPOUR also referred to as “options” in contemporaneous
communications, that he attempted to exercise the day after CytoDyn falsely announced that it
submitted a completed BLA to the FDA, and that KAZEMPOUR ultimately did exercise to
purchase and sell CytoDyn stock in or around June 2020.

In violation of Title 18, United States Code, Section 371.

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COUNTS 2-5
(15 U.S.C. §§ 78j(b); 78ff; 17 C.F.R. § 240.10b-5 — Securities Fraud)

I. Paragraphs | through 15 and 18 through 70 of Count One are hereby realleged and
incorporated by reference herein as though fully set forth in this Count of the Indictment.

De From at least in or around 2018 through at least in or around 2021, within the
District of Maryland and elsewhere, the defendants,

NADER POURHASSAN
and
KAZEM KAZEMPOUR,

did knowingly and willfully, directly and indirectly, by use of the means and instrumentalities of
interstate commerce, and of the mails, in connection with the purchase and sale of securities, use
and employ, and cause others to use and employ, manipulative and deceptive devices and
contrivances, in violation of Title 17, Code of Federal Regulations, Section 240.10b-5 by: (a)
employing, and causing others to employ, devices, schemes, and artifices to defraud; (b) making,
and causing others to make, untrue statements of material fact and omitting to state, and causing
others to omit to state, material facts necessary in order to make the statements made, in the light
of the circumstances under which they were made, not misleading; and (c) engaging, and causing
others to engage, in acts, practices, and courses of business which operated and would operate as
a fraud and deceit upon persons, to wit: to defraud investors in CytoDyn through materially false
and misleading representations relating to CytoDyn’s investigation and attempted development of
leronlimab as a potential treatment for HIV and COVID-19, including, among other things,
CytoDyn’s submissions to, and review of leronlimab by, the FDA.

On or about the dates set forth below, each such date constituting a separate count of this

Indictment, in the District of Maryland and elsewhere, the defendants NADER POURHASSAN

and KAZEM KAZEMPOUR, knowingly used, and caused to be used, any means and instruments

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of transportation and communication in interstate commerce and the use of the mails in furtherance

of the fraudulent conduct:

COUNT DATE INTERSTATE COMMUNICATION

2 4/14/2020 POURHASSAN sent the email to KAZEMPOUR and
Amarex Executive 1, as described in Paragraph 44 above.

3 4/27/2020 KAZEMPOUR and Amarex filed an incomplete BLA on
CytoDyn’s behalf with the FDA, as described in Paragraph
46 above.

4 8/14/2020 POURHASSAN and KAZEMPOUR caused CytoDyn to
submit its annual SEC filing on SEC Form 10-K, as
described in Paragraph 58 above.

5 3/8/2021 POURHASSAN and KAZEMPOUR caused CytoDyn to
file an SEC form 8-K as described in Paragraph 66 above.

In violation of Title 15, United States Code, Sections 78j and 78ff, Title 17, Code of Federal

Regulations, Section 240.10b-5, and Title 18, United States Code, Section 2.

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COUNTS 6-10
(18 U.S.C. § 1343 - Wire Fraud)

Ls Paragraphs 1 through 15 and 18 through 70 of Count One are hereby realleged and
incorporated by reference herein as though fully set forth in this Count of the Indictment.

2 From at least in or around 2018 through at least in or around 2021, within the
District of Maryland and elsewhere, the defendants,

NADER POURHASSAN

and

KAZEM KAZEMPOUR,
did knowingly and with the intent to defraud, having devised and intending to devise a scheme and
artifice to defraud, and to obtain money and property by means of materially false and fraudulent
pretenses, representations, and promises, knowing such pretenses, representations, and promises
were false and fraudulent when made, transmit and cause to be transmitted, by means of wire
communications in interstate and foreign commerce, writings, signals, pictures, and sounds, for
the purpose of executing such scheme and artifice, to wit: to defraud investors in CytoDyn through
materially false and misleading representations relating to CytoDyn’s investigation and attempted
development of leronlimab as a potential treatment for HIV and COVID-19, including, among
other things, CytoDyn’s regulatory submissions to, and review of leronlimab by, the FDA.

3. On or about the dates set forth below, each such date constituting a separate count
of this Indictment, in the District of Maryland and elsewhere, the defendants NADER
POURHASSAN and KAZEM KAZEMPOUR, for the purpose of executing and attempting to
execute the scheme and artifice to defraud, did knowingly transmit and cause to be transmitted in

interstate commerce by means of a wire communication, certain signals, signs and sounds, as set

forth below:

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COUNT DATE DEFENDANT | INTERSTATE WIRE COMMUNICATION
6 2/8/2020 NADER Electronic message from POURHASSAN
12:33:43 PM | POURHASSAN | (x4173) to KAZEMPOUR (x0800) and
Amarex Executive | (x3264)
7 4/14/2020 | NADER E-mail from POURHASSAN to Amarex
POURHASSAN | Executive 1 and KAZEMPOUR, with cc to
CytoDyn Executive 2; Subject: “BLA
submission”
8 4/28/2020 | KAZEM E-mail from KAZEMPOUR to CytoDyn
KAZEMPOUR | Executive 3, with cc to POURHASSAN and
KAZEMPOUR’s financial advisor; Subject:
“CytoDyn: Proposed final press release for
regulatory approval”
9 5/16/2020 | KAZEM E-mail from KAZEMPOUR to CytoDyn
KAZEMPOUR || Executive 3, with cc to POURHASSAN and
KAZEMPOUR’s financial advisor; Subject:
“the warrant shares”
10 2/23/2021 | NADER Email from POURHASSAN to
POURHASSAN | KAZEMPOUR, and others, with the subject

line “CytoDyn Leronlimab D12 COVID-19
Executive Summary Addendum FINAL,”
instructing KAZEMPOUR to submit the
Addendum to the FDA

In violation of Title 18, United States Code, Section 1343.

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COUNTS 11-13

(15 U.S.C. §§ 78j(b); 78ff; 17 C.F.R. § 240.10b-5 — Insider Trading)

1. Paragraphs 1 through 16 and 18 through 70 of Count One are hereby realleged and
incorporated by reference herein as though fully set forth in this Count of the Indictment.

2. From at least in or around April 2020, through at least in or around May 2020,
within the District of Maryland and elsewhere, the defendant,

NADER POURHASSAN,

did knowingly and willfully, directly and indirectly, by use of the means and instrumentalities of
interstate commerce, and of the mails, in connection with the purchase and sale of securities, use
and employ, and cause others to use and employ, manipulative and deceptive devices and
contrivances, in violation of Title 17, Code of Federal Regulations, Section 240.10b-5 by: (a)
employing, and causing others to employ, devices, schemes, and artifices to defraud; (b) making,
and causing others to make, untrue statements of material fact and omitting to state, and causing
others to omit to state, material facts necessary in order to make the statements made, in the light
of the circumstances under which they were made, not misleading; and (c) engaging, and causing
others to engage, in acts, practices, and courses of business which operated and would operate as
a fraud and deceit upon persons, to wit: on the basis of material, non-public information obtained
from his employer, CytoDyn, NADER POURHASSAN, executed and caused to be executed

trades in the securities of CytoDyn, as follows:

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COUNT

DATE

TRANSACTION

11

4/30/2020

Sale of approximately 2.2 million
shares of CytoDyn stock valued at
approximately $7.8 million

12

5/1/2020

Sale of approximately 1.39 million
shares of CytoDyn stock valued at
approximately $4.5 million

13

5/4/2020

Sale of approximately 1.2 million
shares of CytoDyn stock valued at
approximately $3.3 million

In violation of Title 15, United States Code, Sections 78j and 78ff, Title 17, Code of

Federal Regulations, Section 240.10b-5.

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COUNT 14
(18 U.S.C. § 1001 — False Statement)

1. Paragraphs | through 15 and 18 through 70 of Count One are hereby realleged and
incorporated by reference herein as though fully set forth in this Count of the Indictment.

2. On or about July 7, 2021, in the District of Maryland and elsewhere, in a matter
within the jurisdiction of the executive branch of the Government of the United States, the
defendant,

KAZEM KAZEMPOUR,

did knowingly and willfully make materially false, fictitious, and fraudulent statements and
representations, to wit, when being interviewed by law enforcement agents, KAZEMPOUR
falsely stated that he only ever owned a “couple hundred” shares of CytoDyn stock, a “hundred or
two hundred” shares, or a “bonus of two hundred share[s]” that CytoDyn had awarded him, which
KAZEMPOUR also referred to as “options.” In truth and in fact, KAZEMPOUR had not
received a “hundred or two hundred” shares of CytoDyn stock, but as further alleged above in
Paragraph 41, and as KAZEMPOUR knew, he had been given warrants to purchase 150,000
shares of CytoDyn stock, which KAZEMPOUR also referred to as “options” in contemporaneous
communications, that he attempted to exercise the day after CytoDyn falsely announced that it
submitted a completed BLA to the FDA, and that KAZEMPOUR ultimately did exercise to
purchase and sell CytoDyn stock in or around June 2020.

In violation of Title 18, United States Code, Section 1001(a)(2).

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

Ll. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendants that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c) in the event of a defendant’s
conviction on any of the offenses charged in Counts One through Ten of this Indictment.

2. Upon conviction of any of the offenses set forth in Counts One through Thirteen of
this Indictment, the defendants,

NADER POURHASSAN
and
KAZEM KAZEMPOUR
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable to the

offense(s) of conviction, including a money judgment in the amount of proceeds he obtained.

Substitute Assets

3. If any of the property subject to forfeiture, as a result of any act or omission of the
defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party:
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

difficulty

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the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.
§ 853(p), as incorporated by 28 U.S.C. § 2461(c).
All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 21, United States

Code, Section 853, and Title 28, United States Code, Section 2461(c).

EREK L. BARRON
United States Attorney for the District of Maryland

Clo Jer (AR
GLENN S. LEON
Chief
Fraud Section, Criminal Division
United States Department of Justice

A TRUE BILL:

SIGNATURE REDACTED
Le2face
Date ereperson —

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